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 8
                            UNITED STATES DISTRICT COURT
 9                          CENTRAL DISTRICT OF CALIFORNIA
10
     MARLON ROMERO, individually and )                Case No.
11   on behalf of all others similarly situated, )
12                                               )    CLASS ACTION
     Plaintiff,                                  )
13
                                                 )    COMPLAINT FOR VIOLATIONS
14          vs.                                  )    OF:
15
                                                 )
     NETWORD CAPITAL FUNDING                     )       1.      NEGLIGENT VIOLATIONS
16                                                               OF THE TELEPHONE
     CORPORATION; and DOES 1 through )                           CONSUMER PROTECTION
17   10, inclusive, and each of them,            )               ACT [47 U.S.C. §227(b)]
                                                 )       2.      WILLFUL VIOLATIONS
18                                                               OF THE TELEPHONE
     Defendant.                                  )               CONSUMER PROTECTION
19                                               )               ACT [47 U.S.C. §227(b)]
                                                 )       3.      NEGLIGENT VIOLATIONS
20                                                               OF THE TELEPHONE
                                                 )               CONSUMER PROTECTION
21                                               )               ACT [47 U.S.C. §227(c)]
                                                 )       4.      WILLFUL VIOLATIONS
22                                                               OF THE TELEPHONE
                                                 )               CONSUMER PROTECTION
23                                               )               ACT [47 U.S.C. §227(c)]
24                                               )
                                                 )
25
                                                 )    DEMAND FOR JURY TRIAL
26                                               )
27         Plaintiff MARLON ROMERO (“Plaintiff”), individually and on behalf of
28



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 1   all others similarly situated, alleges the following upon information and belief
 2   based upon personal knowledge:
 3
                                NATURE OF THE CASE
 4
 5         1.     Plaintiff brings this action individually and on behalf of all others
 6
     similarly situated seeking damages and any other available legal or equitable
 7
 8   remedies resulting from the illegal actions of NETWORK CAPITAL FUNDING
 9
     CORPORATION (“Defendant”), in negligently, knowingly, and/or willfully
10
     contacting Plaintiff on Plaintiff’s cellular telephone in violation of the Telephone
11
12   Consumer Protection Act, 47. U.S.C. § 227 et seq. (“TCPA”) and related
13
     regulations, specifically the National Do-Not-Call provisions, thereby invading
14
15   Plaintiff’s privacy.
16
                               JURISDICTION & VENUE
17
18         2.     Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff,

19   a resident of California, seeks relief on behalf of a Class, which will result in at
20
     least one class member belonging to a different state than that of Defendant, a
21
22   Nevada company. Plaintiff also seeks up to $1,500.00 in damages for each call in
23
     violation of the TCPA, which, when aggregated among a proposed class in the
24
25   thousands, exceeds the $5,000,000.00 threshold for federal court jurisdiction.
26   Therefore, both diversity jurisdiction and the damages threshold under the Class
27
     Action Fairness Act of 2005 (“CAFA”) are present, and this Court has jurisdiction.
28



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 1           3.   Venue is proper in the United States District Court for the Central
 2   District of California pursuant to 28 U.S.C. 1391(b) and because Defendant does
 3
     business within the State of California and Plaintiff resides within the County of
 4
 5   Los Angeles.
 6
                                         PARTIES
 7
 8           4.   Plaintiff, MARLON ROMERO (“Plaintiff”), is a natural person
 9
     residing in Murrieta, California and is a “person” as defined by 47 U.S.C. § 153
10
     (39).
11
12           5.   Defendant, NETWORK CAPITAL FUNDING CORPORATION
13
     (“Defendant”) is a financed lending company, and is a “person” as defined by 47
14
15   U.S.C. § 153 (39).
16
             6.   The above named Defendant, and its subsidiaries and agents, are
17
18   collectively referred to as “Defendants.” The true names and capacities of the

19   Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are
20
     currently unknown to Plaintiff, who therefore sues such Defendants by fictitious
21
22   names. Each of the Defendants designated herein as a DOE is legally responsible
23
     for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend the
24
25   Complaint to reflect the true names and capacities of the DOE Defendants when
26   such identities become known.
27
             7.   Plaintiff is informed and believes that at all relevant times, each and
28



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 1   every Defendant was acting as an agent and/or employee of each of the other
 2   Defendants and was acting within the course and scope of said agency and/or
 3
     employment with the full knowledge and consent of each of the other Defendants.
 4
 5   Plaintiff is informed and believes that each of the acts and/or omissions complained
 6
     of herein was made known to, and ratified by, each of the other Defendants.
 7
 8                              FACTUAL ALLEGATIONS
 9
           8.     Beginning in or around November 16, 2021, Defendant contacted
10
     Plaintiff on Plaintiff’s cellular telephone number ending in -3890, in an attempt to
11
12   solicit Plaintiff to purchase Defendant’s services.
13
           9.     Defendant used an “automatic telephone dialing system” as defined
14
15   by 47 U.S.C. § 227(a)(1) to place its call to Plaintiff seeking to solicit its services.
16
           10.    Defendant contacted or attempted to contact Plaintiff from multiple
17
18   telephone numbers (909) 340-4464, (909) 587-6301, (909) 340-4461, (626) 877-

19   7872, (323) 289-2890, and (838) 249-0688.
20
           11.    Defendant’s calls constituted calls that were not for emergency
21
22   purposes as defined by 47 U.S.C. § 227(b)(1)(A).
23
           12.    Defendant’s calls were placed to telephone number assigned to a
24
25   cellular telephone service for which Plaintiff incurs a charge for incoming calls
26   pursuant to 47 U.S.C. § 227(b)(1).
27
           13.    During all relevant times, Defendant did not possess Plaintiff’s “prior
28



                                  CLASS ACTION COMPLAINT
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 1   express consent” to receive calls using an automatic telephone dialing system or an
 2   artificial or prerecorded voice on his cellular telephone pursuant to 47 U.S.C. §
 3
     227(b)(1)(A).
 4
 5         14.    Further, Plaintiff’s cellular telephone number ending in -3980 was
 6
     added to the National Do-Not-Call Registry on or about February 13, 2010.
 7
 8         15.    Defendant placed multiple calls soliciting its business to Plaintiff on
 9
     his cellular telephone ending in -3980 in or around November 2021.
10
           16.    Such calls constitute solicitation calls pursuant to 47 C.F.R. §
11
12   64.1200(c)(2) as they were attempts to promote or sell Defendant’s services.
13
           17.    Plaintiff received numerous solicitation calls from Defendant within a
14
15   12-month period.
16
           18.    Plaintiff requested for Defendant to stop calling Plaintiff during one
17
18   of the initial calls from Defendant, thus revoking any prior express consent that had

19   existed and terminating any established business relationship that had existed, as
20
     defined under 16 C.F.R. 310.4(b)(1)(iii)(B).
21
22         19.    Despite this, Defendant continued to call Plaintiff in an attempt to
23
     solicit its services and in violation of the National Do-Not-Call provisions of the
24
25   TCPA.
26         20.    Upon information and belief, and based on Plaintiff’s experiences of
27
     being called by Defendant after requesting they stop calling, and at all relevant
28



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 1   times, Defendant failed to establish and implement reasonable practices and
 2   procedures to effectively prevent telephone solicitations in violation of the
 3
     regulations prescribed under 47 U.S.C. § 227(c)(5).
 4
 5                              CLASS ALLEGATIONS
 6
           21.   Plaintiff brings this action individually and on behalf of all others
 7
 8   similarly situated, as a member the four proposed classes (hereafter, jointly, “The
 9
     Classes”). The class concerning the ATDS claim for no prior express consent
10
     (hereafter “The ATDS Class”) is defined as follows:
11
12
13
                 All persons within the United States who received any
14
15               solicitation/telemarketing     telephone    calls    from
16
                 Defendant to said person’s cellular telephone made
17
18               through the use of any automatic telephone dialing

19               system or an artificial or prerecorded voice and such
20
                 person had not previously consented to receiving such
21
22               calls within the four years prior to the filing of this
23
                 Complaint
24
25
26         22.   The class concerning the ATDS claim for revocation of consent, to the
27
     extent prior consent existed (hereafter “The ATDS Revocation Class”) is defined
28



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 1   as follows:
 2
 3
                   All persons within the United States who received any
 4
 5                 solicitation/telemarketing      telephone    calls    from
 6
                   Defendant to said person’s cellular telephone made
 7
 8                 through the use of any automatic telephone dialing
 9
                   system or an artificial or prerecorded voice and such
10
                   person had revoked any prior express consent to receive
11
12                 such calls prior to the calls within the four years prior to
13
                   the filing of this Complaint.
14
15
16
           23.     The class concerning the National Do-Not-Call violation (hereafter
17
18   “The DNC Class”) is defined as follows:

19
20
                   All persons within the United States registered on the
21
22                 National Do-Not-Call Registry for at least 30 days, who
23
                   had not granted Defendant prior express consent nor had
24
25                 a prior established business relationship, who received
26                 more than one call made by or on behalf of Defendant
27
                   that promoted Defendant’s products or services, within
28



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 1                any twelve-month period, within four years prior to the
 2                filing of the complaint.
 3
           24.    The class concerning the National Do-Not-Call violation following
 4
 5   revocation of consent and prior business relationship, to the extent they existed
 6
     (hereafter “The DNC Revocation Class”) is defined as follows:
 7
 8
 9
                  All persons within the United States registered on the
10
                  National Do-Not-Call Registry for at least 30 days, who
11
12                received more than one call made by or on behalf of
13
                  Defendant that promoted Defendant’s products or
14
15                services, after having revoked consent and any prior
16
                  established business relationship, within any twelve-
17
18                month period, within four years prior to the filing of the

19                complaint.
20
21
22         25.    Plaintiff represents, and is a member of, The ATDS Class, consisting
23
     of all persons within the United States who received any solicitation telephone calls
24
25   from Defendant to said person’s cellular telephone made through the use of any
26   automatic telephone dialing system or an artificial or prerecorded voice and such
27
     person had not previously not provided their cellular telephone number to
28



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 1   Defendant within the four years prior to the filing of this Complaint.
 2         26.    Plaintiff represents, and is a member of, The ATDS Revocation Class,
 3
     consisting of all persons within the United States who received any
 4
 5   solicitation/telemarketing telephone calls from Defendant to said person’s cellular
 6
     telephone made through the use of any automatic telephone dialing system or an
 7
 8   artificial or prerecorded voice and such person had revoked any prior express
 9
     consent to receive such calls prior to the calls within the four years prior to the
10
     filing of this Complaint.
11
12         27.    Plaintiff represents, and is a member of, The DNC Class, consisting
13
     of all persons within the United States registered on the National Do-Not-Call
14
15   Registry for at least 30 days, who had not granted Defendant prior express consent
16
     nor had a prior established business relationship, who received more than one call
17
18   made by or on behalf of Defendant that promoted Defendant’s products or services,

19   within any twelve-month period, within four years prior to the filing of the
20
     complaint.
21
22         28.    Plaintiff represents, and is a member of, The DNC Revocation Class,
23
     consisting of all persons within the United States registered on the National Do-
24
25   Not-Call Registry for at least 30 days, who received more than one call made by or
26   on behalf of Defendant that promoted Defendant’s products or services, after
27
     having revoked consent and any prior established business relationship, within any
28



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 1    twelve-month period, within four years prior to the filing of the complaint.
 2          29.    Defendant, its employees and agents are excluded from The Classes.
 3
      Plaintiff does not know the number of members in The Classes, but believes the
 4
 5    Classes members number in the thousands, if not more. Thus, this matter should
 6
      be certified as a Class Action to assist in the expeditious litigation of the matter.
 7
 8          30.    The Classes are so numerous that the individual joinder of all of its
 9
      members is impractical. While the exact number and identities of The Classes
10
      members are unknown to Plaintiff at this time and can only be ascertained through
11
12    appropriate discovery, Plaintiff is informed and believes and thereon alleges that
13
      The Classes includes thousands of members. Plaintiff alleges that The Classes
14
15    members may be ascertained by the records maintained by Defendant.
16
            31.    Plaintiff and members of The ATDS Class and The ATDS Revocation
17
18    Class were harmed by the acts of Defendant in at least the following ways:

19    Defendant illegally contacted Plaintiff and ATDS Class members via their cellular
20
      telephones thereby causing Plaintiff and ATDS Class and ATDS Revocation Class
21
22    members to incur certain charges or reduced telephone time for which Plaintiff and
23
      ATDS Class and ATDS Revocation Class members had previously paid by having
24
25    to retrieve or administer messages left by Defendant during those illegal calls, and
26    invading the privacy of said Plaintiff and ATDS Class and ATDS Revocation Class
27
      members.
28



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 1          32.    Common questions of fact and law exist as to all members of The
 2    ATDS Class which predominate over any questions affecting only individual
 3
      members of The ATDS Class. These common legal and factual questions, which
 4
 5    do not vary between ATDS Class members, and which may be determined without
 6
      reference to the individual circumstances of any ATDS Class members, include,
 7
 8    but are not limited to, the following:
 9
                   a.     Whether, within the four years prior to the filing of this
10
                          Complaint, Defendant made any telemarketing/solicitation call
11
12                        (other than a call made for emergency purposes or made with
13
                          the prior express consent of the called party) to a ATDS Class
14
15                        member using any automatic telephone dialing system or any
16
                          artificial or prerecorded voice to any telephone number
17
18                        assigned to a cellular telephone service;

19                 b.     Whether Plaintiff and the ATDS Class members were damaged
20
                          thereby, and the extent of damages for such violation; and
21
22                 c.     Whether Defendant should be enjoined from engaging in such
23
                          conduct in the future.
24
25          33.    As a person that received numerous telemarketing/solicitation calls
26    from Defendant using an automatic telephone dialing system or an artificial or
27
      prerecorded voice, without Plaintiff’s prior express consent, Plaintiff is asserting
28



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 1    claims that are typical of The ATDS Class.
 2          34.    Common questions of fact and law exist as to all members of The
 3
      ATDS Revocation Class which predominate over any questions affecting only
 4
 5    individual members of The ATDS Revocation Class. These common legal and
 6
      factual questions, which do not vary between ATDS Revocation Class members,
 7
 8    and which may be determined without reference to the individual circumstances of
 9
      any ATDS Revocation Class members, include, but are not limited to, the
10
      following:
11
12                 a.   Whether, within the four years prior to the filing of this
13
                        Complaint, Defendant made any telemarketing/solicitation call
14
15                      (other than a call made for emergency purposes or made with
16
                        the prior express consent of the called party) to an ATDS
17
18                      Revocation Class member, who had revoked any prior express

19                      consent to be called using an ATDS, using any automatic
20
                        telephone dialing system or any artificial or prerecorded voice
21
22                      to any telephone number assigned to a cellular telephone
23
                        service;
24
25                 b.   Whether Plaintiff and the ATDS Revocation Class members
26                      were damaged thereby, and the extent of damages for such
27
                        violation; and
28



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 1                 c.     Whether Defendant should be enjoined from engaging in such
 2                        conduct in the future.
 3
            35.    As a person that received numerous telemarketing/solicitation calls
 4
 5    from Defendant using an automatic telephone dialing system or an artificial or
 6
      prerecorded voice, after Plaintiff had revoked any prior express consent, Plaintiff
 7
 8    is asserting claims that are typical of The ATDS Revocation Class.
 9
            36.    Plaintiff and members of The DNC Class and DNC Revocation Class
10
      were harmed by the acts of Defendant in at least the following ways: Defendant
11
12    illegally contacted Plaintiff and DNC Class and DNC Revocation Class members
13
      via their telephones for solicitation purposes, thereby invading the privacy of said
14
15    Plaintiff and the DNC Class and DNC Revocation Class members whose telephone
16
      numbers were on the National Do-Not-Call Registry. Plaintiff and the DNC Class
17
18    and DNC Revocation Class members were damaged thereby.

19          37.    Common questions of fact and law exist as to all members of The
20
      DNC Class which predominate over any questions affecting only individual
21
22    members of The DNC Class. These common legal and factual questions, which do
23
      not vary between DNC Class members, and which may be determined without
24
25    reference to the individual circumstances of any DNC Class members, include, but
26    are not limited to, the following:
27
                   a.     Whether, within the four years prior to the filing of this
28



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 1                       Complaint, Defendant or its agents placed more than one
 2                       solicitation call to the members of the DNC Class whose
 3
                         telephone numbers were on the National Do-Not-Call Registry
 4
 5                       and who had not granted prior express consent to Defendant and
 6
                         did not have an established business relationship with
 7
 8                       Defendant;
 9
                  b.     Whether Defendant obtained prior express written consent to
10
                         place solicitation calls to Plaintiff or the DNC Class members’
11
12                       telephones;
13
                  c.     Whether Plaintiff and the DNC Class member were damaged
14
15                       thereby, and the extent of damages for such violation; and
16
                  d.     Whether Defendant and its agents should be enjoined from
17
18                       engaging in such conduct in the future.

19          38.   As a person that received numerous solicitation calls from Defendant
20
      within a 12-month period, who had not granted Defendant prior express consent
21
22    and did not have an established business relationship with Defendant, Plaintiff is
23
      asserting claims that are typical of the DNC Class.
24
25          39.   Common questions of fact and law exist as to all members of The
26    DNC Class which predominate over any questions affecting only individual
27
      members of The DNC Revocation Class.            These common legal and factual
28



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 1    questions, which do not vary between DNC Revocation Class members, and which
 2    may be determined without reference to the individual circumstances of any DNC
 3
      Revocation Class members, include, but are not limited to, the following:
 4
 5                 a.    Whether, within the four years prior to the filing of this
 6
                         Complaint, Defendant or its agents placed more than one
 7
 8                       solicitation call to the members of the DNC Class whose
 9
                         telephone numbers were on the National Do-Not-Call Registry
10
                         and who had revoked any prior express consent and any
11
12                       established business relationship with Defendant;
13
                   b.    Whether Plaintiff and the DNC Class member were damaged
14
15                       thereby, and the extent of damages for such violation; and
16
                   c.    Whether Defendant and its agents should be enjoined from
17
18                       engaging in such conduct in the future.

19          40.    As a person that received numerous solicitation calls from Defendant
20
      within a 12-month period, who, to the extent one existed, had revoked any prior
21
22    express consent and any established business relationship with Defendant, Plaintiff
23
      is asserting claims that are typical of the DNC Revocation Class.
24
25          41.    Plaintiff will fairly and adequately protect the interests of the members
26    of The Classes. Plaintiff has retained attorneys experienced in the prosecution of
27
      class actions.
28



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 1          42.    A class action is superior to other available methods of fair and
 2    efficient adjudication of this controversy, since individual litigation of the claims
 3
      of all Classes members is impracticable. Even if every Classes member could
 4
 5    afford individual litigation, the court system could not. It would be unduly
 6
      burdensome to the courts in which individual litigation of numerous issues would
 7
 8    proceed. Individualized litigation would also present the potential for varying,
 9
      inconsistent, or contradictory judgments and would magnify the delay and expense
10
      to all parties and to the court system resulting from multiple trials of the same
11
12    complex factual issues. By contrast, the conduct of this action as a class action
13
      presents fewer management difficulties, conserves the resources of the parties and
14
15    of the court system, and protects the rights of each Classes member.
16
            43.    The prosecution of separate actions by individual Classes members
17
18    would create a risk of adjudications with respect to them that would, as a practical

19    matter, be dispositive of the interests of the other Classes members not parties to
20
      such adjudications or that would substantially impair or impede the ability of such
21
22    non-party Class members to protect their interests.
23
            44.    Defendant has acted or refused to act in respects generally applicable
24
25    to The Classes, thereby making appropriate final and injunctive relief with regard
26    to the members of the Classes as a whole.
27
                                FIRST CAUSE OF ACTION
28



                                 CLASS ACTION COMPLAINT
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 1           Negligent Violations of the Telephone Consumer Protection Act
 2                                     47 U.S.C. §227(b).
 3
                  On Behalf of the ATDS Class and ATDS Revocation Class
 4
 5          45.     Plaintiff repeats and incorporates by reference into this cause of action
 6
      the allegations set forth above at Paragraphs 1-44.
 7
 8          46.     The foregoing acts and omissions of Defendant constitute numerous
 9
      and multiple negligent violations of the TCPA, including but not limited to each
10
      and every one of the above cited provisions of 47 U.S.C. § 227(b), and in particular
11
12    47 U.S.C. § 227 (b)(1)(A).
13
            47.     As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b),
14
15    Plaintiff and the Class Members are entitled an award of $500.00 in statutory
16
      damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
17
18          48.     Plaintiff and the ATDS Class and ATDS Revocation Class members

19    are also entitled to and seek injunctive relief prohibiting such conduct in the future.
20
                               SECOND CAUSE OF ACTION
21
22     Knowing and/or Willful Violations of the Telephone Consumer Protection
23
                                               Act
24
25                                     47 U.S.C. §227(b)
26            On Behalf of the ATDS Class and the ATDS Revocation Class
27
            49.     Plaintiff repeats and incorporates by reference into this cause of action
28



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 1    the allegations set forth above at Paragraphs 1-44.
 2          50.    The foregoing acts and omissions of Defendant constitute numerous
 3
      and multiple knowing and/or willful violations of the TCPA, including but not
 4
 5    limited to each and every one of the above cited provisions of 47 U.S.C. § 227(b),
 6
      and in particular 47 U.S.C. § 227 (b)(1)(A).
 7
 8          51.    As a result of Defendant’s knowing and/or willful violations of 47
 9
      U.S.C. § 227(b), Plaintiff and the ATDS Class and ATDS Revocation Class
10
      members are entitled an award of $1,500.00 in statutory damages, for each and
11
12    every violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
13
            52.    Plaintiff and the Class members are also entitled to and seek injunctive
14
15    relief prohibiting such conduct in the future.
16
                               THIRD CAUSE OF ACTION
17
18           Negligent Violations of the Telephone Consumer Protection Act

19                                    47 U.S.C. §227(c)
20
               On Behalf of the DNC Class and the DNC Revocation Class
21
22          53.    Plaintiff repeats and incorporates by reference into this cause of action
23
      the allegations set forth above at Paragraphs 1-44.
24
25          54.    The foregoing acts and omissions of Defendant constitute numerous
26    and multiple negligent violations of the TCPA, including but not limited to each
27
      and every one of the above cited provisions of 47 U.S.C. § 227(c), and in particular
28



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 1    47 U.S.C. § 227 (c)(5).
 2          55.    As a result of Defendant’s negligent violations of 47 U.S.C. § 227(c),
 3
      Plaintiff and the DNC Class and DNC Revocation Class Members are entitled an
 4
 5    award of $500.00 in statutory damages, for each and every violation, pursuant to
 6
      47 U.S.C. § 227(c)(5)(B).
 7
 8          56.    Plaintiff and the DNC Class and DNC Revocation Class members are
 9
      also entitled to and seek injunctive relief prohibiting such conduct in the future.
10
                                FOURTH CAUSE OF ACTION
11
12     Knowing and/or Willful Violations of the Telephone Consumer Protection
13
                                              Act
14
15                                  47 U.S.C. §227 et seq.
16
                  On Behalf of the DNC Class and DNC Revocation Class
17
18          57.    Plaintiff repeats and incorporates by reference into this cause of action

19    the allegations set forth above at Paragraphs 1-44.
20
            58.    The foregoing acts and omissions of Defendant constitute numerous
21
22    and multiple knowing and/or willful violations of the TCPA, including but not
23
      limited to each and every one of the above cited provisions of 47 U.S.C. § 227(c),
24
25    in particular 47 U.S.C. § 227 (c)(5).
26          59.    As a result of Defendant’s knowing and/or willful violations of 47
27
      U.S.C. § 227(c), Plaintiff and the DNC Class and DNC Revocation Class members
28



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 1    are entitled an award of $1,500.00 in statutory damages, for each and every
 2    violation, pursuant to 47 U.S.C. § 227(c)(5).
 3
            60.    Plaintiff and the DNC Class and DNC Revocation Class members are
 4
 5    also entitled to and seek injunctive relief prohibiting such conduct in the future.
 6
                                   PRAYER FOR RELIEF
 7
 8    WHEREFORE, Plaintiff requests judgment against Defendant for the following:
 9
                                FIRST CAUSE OF ACTION
10
             Negligent Violations of the Telephone Consumer Protection Act
11
12                                    47 U.S.C. §227(b)
13
                   As a result of Defendant’s negligent violations of 47 U.S.C.
14
15                 §227(b)(1), Plaintiff and the ATDS Class and ATDS Revocation
16
                   Class members are entitled to and request $500 in statutory damages,
17
18                 for each and every violation, pursuant to 47 U.S.C. 227(b)(3)(B).
19
                   Any and all other relief that the Court deems just and proper.
20
                              SECOND CAUSE OF ACTION
21
22     Knowing and/or Willful Violations of the Telephone Consumer Protection
23
                                              Act
24
25                                    47 U.S.C. §227(b)
26
                   As a result of Defendant’s willful and/or knowing violations of 47
27
28                 U.S.C. §227(b)(1), Plaintiff and the ATDS Class and ATDS


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 1               Revocation Class members are entitled to and request treble damages,
 2               as provided by statute, up to $1,500, for each and every violation,
 3
                 pursuant to 47 U.S.C. §227(b)(3)(B) and 47 U.S.C. §227(b)(3)(C).
 4
 5               Any and all other relief that the Court deems just and proper.
 6
                             THIRD CAUSE OF ACTION
 7
 8          Negligent Violations of the Telephone Consumer Protection Act
 9
                                    47 U.S.C. §227(c)
10
11               As a result of Defendant’s negligent violations of 47 U.S.C.
12               §227(c)(5), Plaintiff and the DNC Class and DNC Revocation Class
13
                 members are entitled to and request $500 in statutory damages, for
14
15               each and every violation, pursuant to 47 U.S.C. 227(c)(5).
16
                 Any and all other relief that the Court deems just and proper.
17
18                          FOURTH CAUSE OF ACTION
19
       Knowing and/or Willful Violations of the Telephone Consumer Protection
20
21
                                            Act

22                                  47 U.S.C. §227(c)
23
                 As a result of Defendant’s willful and/or knowing violations of 47
24
25               U.S.C. §227(c)(5), Plaintiff and the DNC Class and DNC Revocation
26
                 Class members are entitled to and request treble damages, as provided
27
28               by statute, up to $1,500, for each and every violation, pursuant to 47


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 1                 U.S.C. §227(c)(5).
 2                 Any and all other relief that the Court deems just and proper.
 3
            61.    Pursuant to the Seventh Amendment to the Constitution of the United
 4
 5    States of America, Plaintiff is entitled to, and demands, a trial by jury.
 6
 7
 8
 9
            Respectfully Submitted this 18th Day of May, 2022.
10                               LAW OFFICES OF TODD M. FRIEDMAN, P.C.
11
12
                                        By: /s/ Todd M. Friedman
                                            Todd M. Friedman
13                                          Law Offices of Todd M. Friedman
14                                          Attorney for Plaintiff
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